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                                         UNITED STATES BANKRUPTCY COURT
                                            NORTHERN DISTRICT OF TEXAS
                                                  DALLAS DIVISION

IN RE:                                                               Case No:
Steven William Stagner                                               DATED:       2/25/2009
Paula Kay Stagner                                                    Chapter:     13
Debtor(s)                                                            EIN:
Attorney Phone No: (214) 748-7128                                    Judge:


                                DEBTOR'S(S') CHAPTER 13 PLAN AND MOTION FOR VALUATION
                                                       SECTION I
                                  DEBTOR'S(S') CHAPTER 13 PLAN - SPECIFIC PROVISIONS
                                                 FORM REVISED 5-25-06

This Plan contains non-standard provisions in Section IV (last page):     ¨ yes þ no
A.   DEBTOR PAYMENTS            DEBTOR(S) PROPOSES TO PAY TO THE TRUSTEE THE SUM OF:

                                MONTHS 1 TO 60                     $125.00 PER MONTH

                                FOR A TOTAL OF         $7,500.00        ("BASE AMOUNT").                   .
                                FIRST PAYMENT IS DUE                          .

                                THE ESTIMATED UNSECURED CREDITORS POOL IS
                                     $0.00          calculated as:      $0.00        (Disposable
                                income per § 1325(b)(2)) x      36 months      (Applicable
                                Commitment Period per § 1325(b)(4)), but not less than
                                Debtor's equity in non-exempt property:       $0.00
                                pursuant to § 1325(a)(4).

B. ADMINISTRATIVE AND DSO CLAIMS:
     1.    CLERK'S FILING FEE: Total filing fees paid through the plan, if any, are           $0.00        and shall be paid in full
           prior to disbursements to any other creditor.

     2.    TRUSTEE FEES AND NOTICING FEES: Trustee fees and any noticing fees shall be paid first out of each disbursement
           and as provided in General Order 2006-01.

     3.    DOMESTIC SUPPORT OBLIGATIONS: Prior to discharge, Debtor will pay all post-petition Domestic Support Obligations
           (as defined in § 101(14A)) directly to the holder(s) of such obligation(s), unless payment through the Plan as hereinafter
           provided is agreed to in writing by the respective holder(s) of the claim(s) or their agent(s). Pre-petition Domestic
           Support Obligations per Schedule "E" shall be paid the following monthly payments:

                     DSO CLAIMANT(S)                          SCHEDULED AMOUNT(S)              TERM (APPROXIMATE)            TREATMENT

C. ATTORNEY FEES: TO         Law Office of Johnson & Cash     , TOTAL:  $3,000.00   ;
       $500.00    PRE-PETITION;     $2,500.00     THROUGH TRUSTEE. PRE-CONFIRMATION PAYMENTS TO
   DEBTOR'S ATTORNEY WILL BE PER THE AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS. POST-
   CONFIRMATION PAYMENTS TO DEBTOR'S ATTORNEY WILL BE MADE FROM FUNDS REMAINING AFTER PAYMENT
   OF ADMINISTRATIVE AND DSO CLAIMS AS PROVIDED ABOVE ('B') AND EACH SPECIFIED MONTHLY PLAN PAYMENT
   TO SECURED CREDITORS ('D' AND/OR 'E' BELOW) BEFORE ANY PAYMENT TO PRIORITY CREDITORS ('H' BELOW)
   OR UNSECURED CREDITORS ('I' AND 'J' BELOW).

D. HOME MORTGAGE ARREARAGE:

                 MORTGAGEE                         SCHED.             DATE              %       TERM (APPROXIMATE)           TREATMENT
                                                  ARR. AMT       ARR. THROUGH
City of Mesquite/ISD                                   $858.10                        12.00%          Month(s) 23-23                   $20.15
                                                                                      12.00%          Month(s) 24-59                   $35.40
GMAC Mortgage                                        $1,975.00                        0.00%           Month(s) 23-23                   $36.90
                                                                                      0.00%           Month(s) 24-59                   $54.27
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If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will be reinstated according to its original terms, extinguishing any right of the Mortgagee or its
assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1) SECURED CREDITORS--PAID BY THE TRUSTEE

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL
Dell Preferred Account                               $2,577.00            $700.00       5.00%         Month(s) 23-23                  $14.39
Computer and Accessories                                                                5.00%         Month(s) 24-59                  $22.83

E.(2)(a) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--NO CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

E.(2)(b) SECURED 1325(a)(9) CLAIMS PAID BY THE TRUSTEE--CRAM DOWN:

                 CREDITOR /                     SCHED. AMT.            VALUE             %        TERM (APPROXIMATE)           TREATMENT
                COLLATERAL

TO THE EXTENT THE VALUE AMOUNT IN E.(2)(b) IS LESS THAN THE SCHEDULED AMOUNT IN E.(2)(b), THE CREDITOR
SHALL HAVE THE OPTION OF REQUIRING THE DEBTOR TO SURRENDER THE COLLATERAL BY OBJECTING TO THE
PROPOSED TREATMENT.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN PARAGRAPH E.(2)(b) THE DEBTOR RETAINS
THE RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE
DEBTOR ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH
COLLATERAL UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR(S) LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED THEIR RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF
THE BANKRUPTCY CODE.

THE VALUATION OF COLLATERAL AND INTEREST RATE TO BE PAID ON THE ABOVE SCHEDULED CLAIMS IN E(1) AND
E(2)(a) AND (b) WILL BE FINALLY DETERMINED AT CONFIRMATION. THE CLAIM AMOUNT WILL BE DETERMINED
BASED ON A TIMELY FILED PROOF OF CLAIM AND THE TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS
("TRCC".)

EXCEPT FOR "VALUATION" AND "INTEREST RATE," CONFIRMATION HEREOF SHALL BE WITHOUT PREJUDICE TO THE
DEBTOR'S, THE TRUSTEE'S, OR ANY SECURED CREDITOR'S RIGHT TO A LATER DETERMINATION OF THE ALLOWED
AMOUNT OF ANY CREDITOR'S SECURED CLAIM. TO THE EXTENT SUCH CLAIM IS ALLOWED FOR AN AMOUNT
GREATER OR LESSER THAN THE "SCHEDULED AMOUNT" PROVIDED FOR ABOVE, AFTER THE TRCC IS FINAL,
DEBTOR WILL MODIFY THE PLAN TO FULLY PROVIDE FOR SUCH ALLOWED SECURED CLAIM.

F.   SECURED CREDITORS--COLLATERAL TO BE SURRENDERED:

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL

The Automatic Stay will terminate as to Collateral listed in this paragraph F. upon filing hereof but nothing in this Plan shall be
deemed to abrogate any applicable non-bankruptcy law contract rights of the Debtor(s).

G. SECURED CREDITORS--PAID DIRECT BY DEBTOR

                            CREDITOR /                                   SCHED. AMT.          VALUE                   TREATMENT
                           COLLATERAL


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GMAC                                                         $15,805.00           $11,425.00
2006 Chevrolet Malibu 25,000 miles
GMAC Mortgage                                                $60,319.91           $61,470.00
Homestead

H. PRIORITY CREDITORS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS:

                             CREDITOR                             SCHED. AMT.      TERM (APPROXIMATE)   TREATMENT

I.   SPECIAL CLASS:

                            CREDITOR /                            SCHED. AMT.      TERM (APPROXIMATE)   TREATMENT
                           JUSTIFICATION

J.   UNSECURED CREDITORS

                       CREDITOR                 SCHED. AMT.                               COMMENT
Betty Stagner                                         $1,200.00
Chase Card                                            $4,705.00
Citi Cards                                            $3,330.00
Dell Preferred Account                                $1,877.00 Unsecured portion of the secured debt (Bifurcated)
Dorella Bond                                          $1,400.00
Exxon                                                 $1,215.00
HSBC                                                  $2,744.00
Sears                                                 $2,754.00
Washington Mutual                                     $5,055.00
Wells Fargo                                           $4,458.00
Woman Within                                            $75.00
TOTAL SCHEDULED UNSECURED:                           $28,813.00

UNSECURED CREDITORS ARE NOT GUARANTEED A DIVIDEND WHEN A PLAN IS CONFIRMED, SEE GENERAL ORDER
2006-01. ALLOWED GENERAL UNSECURED CLAIMS MAY RECEIVE A PRO-RATA SHARE OF THE UNSECURED
CREDITORS' POOL, BUT NOT LESS THAN THE SECTION 1325(a)(4) AMOUNT SHOWN IN SECTION I "A" ABOVE LESS
ALLOWED ADMINISTRATIVE AND PRIORITY CLAIMS, AFTER THE TRCC BECOMES FINAL. A PROOF OF CLAIM MUST BE
TIMELY FILED TO BE ALLOWED.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES:

                  § 365 PARTY              ASSUME/REJECT     CURE AMOUNT           TERM (APPROXIMATE)   TREATMENT
GMAC                                       Assumed                        $0.00

L.   CLAIMS TO BE PAID:

'TERM (APPROXIMATE)' SHOWN HEREIN GIVES THE ESTIMATED NUMBER OF MONTHS FROM THE PETITION DATE REQUIRED
TO FULLY PAY THE ALLOWED CLAIM. IF ADEQUATE PROTECTION PAYMENTS HAVE BEEN AUTHORIZED AND MADE, THEY
WILL BE APPLIED TO PRINCIPAL AS TO UNDER-SECURED CLAIMS AND ALLOCATED BETWEEN INTEREST AND PRINCIPAL
AS TO OVER-SECURED CLAIMS. PAYMENT PURSUANT TO THIS PLAN WILL ONLY BE MADE TO SECURED,
ADMINISTRATIVE, PRIORITY AND UNSECURED CLAIMS THAT HAVE BEEN ALLOWED OR THAT THE DEBTOR HAS
AUTHORIZED IN AN ADEQUATE PROTECTION AUTHORIZATION. GENERAL UNSECURED CLAIMS WILL NOT RECEIVE ANY
PAYMENT UNTIL AFTER THE TRCC BECOMES FINAL.

THE "SCHED. AMT." SHOWN IN THIS PLAN SHALL NOT DETERMINE THE "ALLOWED AMOUNT" OF ANY CLAIM.


M. ADDITIONAL PLAN PROVISIONS:

SEE SECTION IV ON LAST PAGE FOR ADDITIONAL PLAN PROVISIONS, IF ANY.


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                                                       SECTION II
                                   DEBTOR'S(S') CHAPTER 13 PLAN--GENERAL PROVISIONS
                                                  FORM REVISED 5-25-06

A.   SUBMISSION OF DISPOSABLE INCOME

Debtor(s) hereby submits such portion of future earnings or other future income as herein provided to the supervision and
control of the Trustee as necessary for the execution of the Plan as herein provided.

Debtor proposes to PAY TO THE TRUSTEE the Base Amount indicated in Section I, Part "A" hereof. If applicable, cause exists
for payment over a period of more than three (3) years.

If the Plan does not pay 100% to all creditors, the Base Amount shall not be less than the sum of the allowed administrative
expenses plus the allowed priority and secured claims (with interest if applicable) plus the greater of the unsecured creditors'
pool, or the 11 USC 1325(a)(4) amount (Best Interest Test).
Payment of any claim against the Debtor may be made from the property of the estate or property of the Debtor(s), as herein
provided.

B. ADMINISTRATIVE EXPENSES, DSO CLAIMS & PAYMENT OF TRUSTEE'S STATUTORY FEES AND NOTICING FEES

The Administrative Expenses of the Trustee shall be paid in full pursuant to 11 U.S.C. Sec 105(a), 503(b), 1326(b)(2), and 28
U.S.C. Sec 586(e)(1)(B). The Trustee's Fees & Expenses, not to exceed ten percent (10%) allowed pursuant to 28 U.S.C. Sec
586(e)(1)(B), shall be deducted from each payment. Additionally, the Trustee is authorized to charge and collect Noticing Fees
as indicated in Section I, Part "B" hereof, pursuant to local rule. No Trustee fee will be collected on Noticing Fees.

Debtor will pay in full all Domestic Support Obligations that are due before discharge, including section 507(a)(1) Priority claims
due before the petition was filed, but only to the extent provided for in this Plan.

C. ATTORNEY FEES
Debtor's(s') Attorney Fees totaling the amount indicated in Section I Part "C", shall be paid by the Trustee in the amount shown
as "through Trustee", pursuant to this Plan and the Debtor's(s') Authorization for Adequate Protection Disbursements.

D. PRINCIPAL RESIDENCE ARREARAGES (HOME MORTGAGE)

Arrearage on claims secured only by a security interest in the Debtor's(s') principal residence shall be paid by the Trustee in the
allowed pre-petition arrearage amount, and at the Annual Percentage of interest indicated in Section I, Part "D" herein. To the
extent interest is provided, interest will be calculated from the date of the Petition. The principal balance owing upon
confirmation of the Plan on the allowed pre-petition arrearage amount shall be reduced by the total of adequate protection paid
less any interest (if applicable) made to the respective creditor by the Trustee. Unless otherwise provided, post-petition
payments may be paid "Direct" by Debtor(s), beginning with the first payment due after the 'ARR. THROUGH' date in Section I,
Part "D". Such creditors shall retain their liens. To the extent an arrearage claim is allowed in an amount in excess of the
Sched. Arr. Amt., the Debtor will promptly Modify the Plan to provide for full payment of the allowed amount, or for surrender of the
collateral, at Debtor's election. If Debtor elects to surrender the collateral, the creditor may retain all pre-surrender payments
received pursuant hereto.

If pursuant to this Plan, the Debtor pays through the Trustee the Allowed pre-petition Home Mortgage Arrearage Claim Amount to
any Mortgagee identified in paragraph "D" or its assignee(s), while timely making all required post-petition mortgage payments,
upon discharge, the mortgage will thereupon be reinstated according to its original terms, extinguishing any right of the
Mortgagee or its assignee(s) to recover any amount alleged to have arisen prior to the filing of the petition.

E.(1)   SECURED CLAIMS TO BE PAID BY TRUSTEE

The claims listed in Section I, Part "E(1)" shall be paid by the Trustee as "SECURED" to the extent of the lesser of the Claim
Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral, which will
be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as unsecured
as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the collateral
described in Section I, Part "E(1)" until the earlier of the payment of the underlying debt determined under non-bankruptcy law or
discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the date of confirmation
hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the amount by which the claim
is over-secured. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced by
the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.




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E.(2)(a) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--NO CRAM DOWN
Claims in Section I, Part "E(2)(a)" are either debts incurred within 910 days of the Petition date secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the debtor or debts incurred within one year of the petition
date secured by any other thing of value.

The claims listed in Section I, Part "E(2)(a)" shall be paid by the Trustee as "SECURED" to the extent of the "ALLOWED
AMOUNT" (per timely filed Proof of Claim not objected to by a party in interest.) Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(a)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of the Petition. The principal balance owing upon confirmation of the Plan on the allowed secured claim shall be reduced
by the total of adequate protection paid less any interest (if applicable) paid to the respective creditor by the Trustee.

E.(2)(b) SECURED SECTION 1325(a)(9) CLAIMS TO BE PAID BY THE TRUSTEE--CRAM DOWN

The claims listed in Section I, Part "E(2)(b)" shall be paid by the Trustee as "SECURED" to the extent of the LESSER OF the
Claim Amount (per timely filed Proof of Claim not objected to by a party in interest), or the VALUE as shown of the collateral,
which will be retained by the Debtor(s). Any amount claimed in excess of the value shall automatically be "split" and treated as
unsecured as indicated in Section I, Part "H" or "J", per 11 U.S.C. Sec. 506(a). Such creditors shall retain their liens on the
collateral described in Section I, Part "E(2)(b)" until the earlier of the payment of the underlying debt determined under non-
bankruptcy law or discharge under Section 1328, and shall receive interest at the Annual Percentage Rate indicated from the
date of confirmation hereof, or if the value shown is greater than the Claim Amount, from the date of the Petition, up to the
amount by which the claim is over-secured.

IF THE "VALUE" SHOWN IN "E(2)(b)" ABOVE IS LESS THAN THE "SCHED. AMT." SHOWN, THE "ALLOWED AMOUNT" OF THE
SECURED PORTION OF THE CLAIM SHALL NOT EXCEED THE "VALUE" DETERMINED AT CONFIRMATION.

IN THE EVENT THAT A CREDITOR OBJECTS TO THE TREATMENT PROPOSED IN THIS PARAGRAPH, THE DEBTOR RETAINS THE
RIGHT TO SURRENDER THE COLLATERAL TO THE CREDITOR IN SATISFACTION OF THE CREDITOR'S CLAIM. IF THE DEBTOR
ELECTS TO SURRENDER THE COLLATERAL, THEN THE AUTOMATIC STAY WILL BE TERMINATED AS TO SUCH COLLATERAL
UPON ENTRY OF THE ORDER CONFIRMING THE PLAN, UNLESS OTHERWISE ORDERED BY THE COURT.

ABSENT SUCH OBJECTION, THE CREDITOR LISTED IN "E.(2)(b)" SHALL BE DEEMED TO HAVE "ACCEPTED" THE PLAN PER
SECTION 1325(a)(5)(A) OF THE BANKRUPTCY CODE AND WAIVED ITS RIGHTS UNDER SECTION 1325(a)(5)(B) AND (C) OF THE
BANKRUPTCY CODE.

To the extent a secured claim NOT provided for in Section I Part "D", "E(1)" or "E(2)" is allowed by the Court, Debtor(s) will pay the
claim 'DIRECT' per the contract.

Each secured claim shall constitute a separate class.

F.   SATISFACTION OF CLAIM BY SURRENDER OF COLLATERAL

The claims listed in Section I, Part "F" shall be satisfied as 'SECURED' to the extent of the VALUE of the collateral, as shown, by
SURRENDER of the collateral by the Debtor(s) on or before Confirmation. Any amount claimed in excess of the value of the
collateral as shown, to the extent it is allowed, shall be automatically "split" and treated as indicated in Section I, Part "H" or "J"
per 11 U.S.C. Sec 506(a).

Each secured claim shall constitute a separate class.

G. DIRECT PAYMENTS BY DEBTOR(S)

All secured claims listed in Section I, Part "G" shall be paid 'DIRECT' by the Debtor(s) in accordance with the terms of their
agreement, unless otherwise provided in Section IV.

Each secured claim shall constitute a separate class.




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H. PRIORITY CLAIMS OTHER THAN DOMESTIC SUPPORT OBLIGATIONS
All allowed claims (i.e., those for which a Proof of Claim is timely filed and not objected to by a party in interest) entitled to priority
under Section 507(a) of the Bankruptcy Code, other than Section 507(a)(1) Domestic Support Obligations, will be paid in full
(except as provided in Section 1322(a)(4)) in deferred installments, unless the holder of such claim agrees to a different
treatment of such claim. Failure to object to confirmation of this Plan shall not be deemed "acceptance" of the "SCHED AMT."
shown in Section I Part "H" hereof. The claims listed in Section I, Part "H" shall be paid their allowed amount by the Trustee in
full as Priority without interest at the monthly amount indicated or pro rata.

Priority claims for taxes are unsecured and shall not accrue interest or penalty subsequent to the filing, and such interest or
penalty as might otherwise accrue thereafter shall be discharged upon completion of the Plan.

I.   CLASSIFIED UNSECURED CLAIMS

Classified unsecured claims shall be treated as allowed by the Court.

J.   GENERAL UNSECURED CLAIMS TIMELY FILED
All other claims not otherwise provided for herein shall be designated general unsecured claims. Payments, if any, to general
unsecured claims will be on a pro rata basis. All allowed general unsecured claims shall be paid in an amount under the Plan
which is not less than the amount that would be paid on such claims if the estate of the Debtor(s) were liquidated under
Chapter 7 of the Bankruptcy Code on the date of filing of the Petition herein.

Any delinquencies under the Plan on allowed secured claims, allowed priority claims and allowed classified unsecured claims
must be brought current before any payments are made on general unsecured claims.

General unsecured claims may be paid concurrently with secured, priority and classified unsecured claims so long as each
secured, priority, and classified unsecured creditor is receiving not less than its monthly installment as provided herein. If the
indicated monthly amount is insufficient to fully pay the monthly payment provided for such allowed secured, priority or classified
unsecured claim(s) respectively, the Trustee shall pay in the following order: each classification of such allowed secured
claim(s), priority claim(s) and classified unsecured claim(s) pro rata until all such payments within each subclass are current,
prior to any other payments to allowed general unsecured claims.

General unsecured claims totaling the amount indicated in Section I Part "J", shall be paid by the Trustee, a PRO RATA share of
the unsecured creditors' pool estimated in Section I, Part "A" but not less than the amount indicated pursuant to
Section 1325(a)(4) less allowed administrative and priority claims, or the estimated % (if any) shown above.

K. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

As provided in Section 1322(b)(7) of the Bankruptcy Code, the Debtor(s) assumes or rejects the executory contracts or unexpired
leases with the parties so indicated in Section I, Part "K".

Assumed lease and executory contract arrearage amounts shall be paid by the Trustee as indicated in Section I Part "K".

L.   CLAIMS TO BE PAID

See Section I, Part "L" of the Plan.

M. ADDITIONAL PLAN PROVISIONS

The provisions set forth in Section IV are additional Plan provisions not otherwise referred to herein.

N. POST-PETITION CLAIMS

Claims filed under Section 1305 of the Bankruptcy Code shall be paid as allowed. To the extent necessary, Debtor will modify
this Plan.

O. LATE FILED CLAIMS AND CLAIMS NOT FILED

Late filed unsecured claims on pre-petition debt shall be paid pro rata, only after all other timely filed unsecured claims are paid
in full. Such payment shall be before any payment on pre-petition non-pecuniary penalties. Late filed claims on priority pre-
petition claims shall be paid in full before any payment on late filed general unsecured pre-petition claims. Late filed secured
claims shall be paid in full before any payment on late filed priority claims.

A claim not filed with the Court will not be paid by the Trustee post-confirmation regardless of its treatment in Section I or on the
AAPD.


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P.   CLAIMS FOR PRE-PETITION NON-PECUNIARY PENALTIES, FINES, FORFEITURES, MULTIPLE, EXEMPLARY OR PUNITIVE
     DAMAGES

Any unsecured claim for non-pecuniary penalty, fines, forfeitures, multiple, exemplary or punitive damages, expressly including
IRS penalty to date of petition on unsecured and/or priority claims, shall be paid only a pro rata share of any funds remaining
after all other unsecured claims including late filed claims, shall have been paid in full.

Q. CLAIMS FOR POST-PETITION PENALTIES AND INTEREST

No interest, penalty, or additional charge shall be allowed on any pre-petition claims subsequent to the filing of the petition,
unless expressly provided herein.

R. BUSINESS CASE OPERATING REPORTS

Upon confirmation, business debtors are no longer required to file operating reports with the Trustee, unless the Trustee
requests otherwise. However, a final operating report through the date of confirmation is required if operating reports were
previously required. Confirmation hereof shall terminate the Trustee's duties to investigate or monitor the debtor's business
affairs, assets or liabilities.

S.   NO TRUSTEE'S LIABILITY FOR DEBTOR'S POST CONFIRMATION OPERATION AND BAR DATE FOR CLAIMS FOR
     PRECONFIRMATION OPERATIONS

The Trustee shall not be liable for any claim arising from the post-confirmation operation of Debtor's business. Any claims
against the Trustee arising from the pre-confirmation operation of the Debtor's business must be filed with the Bankruptcy Court
within sixty (60) days after entry by the Bankruptcy Court of the Order of Confirmation hereof, or be barred.

T.   DISPOSAL OF DEBTOR'S NON-EXEMPT PROPERTY AND TRUSTEE PAYMENTS UPON POST CONFIRMATION CONVERSION
     OR DISMISSAL

Debtor shall not dispose of or encumber any non-exempt property or release or settle any lawsuit or claim by Debtor(s), prior to
discharge, without consent of the Trustee or order of the Court after notice to the Trustee and all creditors. Upon conversion or
dismissal of the case post confirmation, the Trustee shall disburse all funds on hand in accordance with this Plan.

U. ORDER OF PAYMENT
All claims shown in Section I, will be paid in the following order from each disbursement, to the extent allowed:

     1st --    Administrative Fees and DSO claims in "B"
     2nd --    Assumed lease and executory contract arrearage claims in "K"
     3rd --    Specified monthly dollar amounts to secured claims in "D", "E(1)", and "E(2)"
     4th --    Pro-rata among attorney fees in "C"
     5th --    Pro-rata among secured claims in "D", "E(1)" and "E(2)"
     6th --    Specified monthly dollar amounts to priority claims in "H"
     7th --    Pro-rata among priority claims in "H"
     8th --    Specified monthly dollar amounts to special class claims in "I"
     9th --    Pro-rata among special class claims in "I"
     10th --   Pro-rata among claims in "J" other than late filed and penalty claims
     11th --   Pro-rata among late filed priority claims in "H"
     12th --   Pro-rata among late filed general unsecured claims in "J"
     13th --   Pro-rata among penalty claims in "J".




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V.   TRUSTEE'S RECOMMENDATION CONCERNING CLAIMS ("TRCC") PROCEDURE
Pursuant to General Order 2006-01, Paragraph 8, as soon as practicable after the governmental claims bar date, the Trustee
shall prepare and serve on Debtor's counsel, all creditors who were scheduled, all creditors who filed claims and any party that
has filed a Notice of Appearance, a Trustee's Recommendation Concerning Claims ("TRCC") and Notice of Hearing and Pre-
Hearing Conference thereon. The TRCC may be deemed in part to be an Objection to Claims. Objections to the TRCC shall be
filed within thirty (30) days from the date of service of the TRCC. Unless an objection is timely filed as to the treatment of any
claim, the claim will be allowed or approved only as described in the TRCC, and such treatment will be binding on all parties
without further order of the court. All unresolved objections to the TRCC shall be deemed waived if not timely filed or if the
proponent of any such objection fails to attend the Trustee's Pre-Hearing Conference or give the Trustee prior written notice that
a hearing is necessary. To the extent secured and/or priority claims being paid through the Plan by the Trustee are allowed for
amounts in excess of the amounts provided for in this Plan, the Debtor(s) will promptly modify the Plan to provide for full payment
of the allowed amount. After the TRCC becomes final, should the Plan then become infeasible and/or "insufficient", the Trustee
shall be permitted to move the Court to dismiss the case for such reason.


                                                          SECTION III
                                                     MOTION FOR VALUATION

Pursuant to Bankruptcy Rule 3012, for purposes of 11 U.S.C. Sec 506(a) and § 1325(a)(5) and for purposes of determination of
the amounts to be distributed to holders of secured claims who do not accept the Plan, Debtor(s) hereby moves the Court to
value the collateral described in Section I, Part "E" and Part "F", as the LESSER of the value set forth therein, or any value
claimed on the proof of claim. Any objection to valuation shall be filed at least five (5) business days prior to the date of the
Trustee's pre-hearing conference regarding Confirmation, or be deemed waived.




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Case No:
Debtor(s):   Steven William Stagner
             Paula Kay Stagner

                                                   SECTION IV
                                           ADDITIONAL PLAN PROVISIONS

Additional (non-standard) Plan provisions, if any, CAPITALIZED, BOLD AND UNDERSCORED ARE AS FOLLOWS:
None.

Respectfully submitted,                                Case No.:

/s/ Bonnie L. Johnson
Bonnie L. Johnson, Debtor's(s') Attorney

12396500
State Bar Number




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Law Office of Bonnie Johnson
6440 N Central Expy. #800
Dallas, TX 75206



Bar Number: 12396500
Phone: (214) 748-7128
                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                           NORTHERN DISTRICT OF TEXAS
                                                                  DALLAS DIVISION
                                                                            Revised 11-1-05

IN RE:                                                                               §
Steven William Stagner                                                               §       CASE NO:
Paula Kay Stagner                                                                    §
                                                                                     §
Debtor(s)
                                                                                     §


AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                                            2/25/2009
                                                                                                                        DATED:________________.
The undersigned Debtor(s) hereby request that payments received by the Trustee prior to confirmation be disbursed in
accordance with General Order 2005-05, as indicated below:

 Periodic Payment Amount                                                                                                                                  $125.00

 Disbursements                                                                                                        First (1)                 Second (2) (Other)

 Account Balance Reserve                                                                                                 $5.00                              $0.00

 Trustee Fee                                                                                                           $12.00                              $12.50
 Filing Fee                                                                                                              $0.00                              $0.00

 Noticing Fee                                                                                                          $17.85                               $0.00

 Subtotal Expenses/Fees                                                                                                $34.85                              $12.50
 Available for Adequate Protection, Attorney Fees and Undisputed
 Priority Claims:                                                                                                      $90.15                             $112.50


SECURED CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                            Total Adequate Protection Payments for Secured Creditors:                                       $0.00

SPECIAL CLASS CREDITORS:
                                                                                                                                   Adequate              Adequate
                                                                                             Scheduled             Value of        Protection           Protection
 Name                                          Collateral                                      Amount             Collateral      Percentage       Payment Amount

                                                      Total Adequate Protection Payments for Special Class Creditors:                                       $0.00

                                                                                         Total Adequate Protection Payments:                                $0.00

                                                            Funds Available For Debtor's Attorney First Disbursement:                                      $90.15
                                                         Funds Available For Debtor's Attorney Future Disbursements:                                      $112.50

                                                             Available For Secured Creditors as Authorized by the Plan:                                 $112.50**




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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  (H) Steven William Stagner                AUTHORIZATION FOR ADEQUATE PROTECTION DISBURSEMENTS                                                   Page 2
 (W) Paula Kay Stagner
(C#)




DATED:________________________
        03/09/2009

  /s/ Bonnie L. Johnson
Attorney for Debtor(s)                                                                     Trustee, Attorney for Trustee or Trustee's Representative




** Amount is based on the plan payment scheduled on the month following the month when the attorney fees are paid in full.
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas - (210) 561-5300.
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

  IN RE:   Steven William Stagner                                                CASE NO.
           Paula Kay Stagner
                                                                                CHAPTER       13

                                                  Certificate of Service


I, Bonnie L. Johnson, do hereby certify that a true and correct copy of Chapter 13 Plan, APD and 341 meeting notice were
served on the creditors listed below by First Class Mail, Fax, Hand Delivered or Electronic Filing on this 9th day of March,
2009.



/s/_Bonnie L. Johnson_______________________
Bonnie L. Johnson

Alliance One                                  Dorella Bond                                  Law Office of Johnson & Cash
P.O. Box 1963                                 4027 Ridgebrook                               6440 N Central Expressway
Southgate, MI 48195                           Arlington, TX                                 Suite 800
                                                                                            Dallas TX 75206



Betty Stagner                                 Exxon                                         Sears
1822 Highland Street                          P.O. Box 103031                               P.O. Box 6564
Mesquite, TX 75149                            Roswell, GA 30076                             The Lakes, NV 88901-6564




Chase Card                                    GMAC                                          Washington Mutual
P.O. Box 94014                                PO Box 78234                                  P.O.Box 78148
Palatine, IL 60094-4014                       Phoenix, AZ 85062-8234                        Phoenix,AZ 85062-8148




Citi Cards                                    GMAC Mortgage                                 Wells Fargo
P.O. Box 6413                                 P.O. Box 79135                                P.O. Box 30086
The Lakes, NV 88901-6413                      Phoenix, AZ 85062-9135                        Los Angeles, CA 90030-0086




City of Mesquite/ISD                          GMAC Mortgage                                 Woman Within
711 N. Galloway Ave.                          P.O. Box 79135                                PO Box 659728
P.O. Box 850267                               Phoenix, AZ 85062-9135                        San Antonio, TX 78265-9728
Mesquite, TX 75185-0267



Dell Preferred Account                        HSBC
PO Box 6403                                   P.O. Box 60113
Carol Stream, IL 60197-6403                   City of Industry, CA 91716-0113
